Case 2:03-cV-02255-.]DB-STA Document 101 Filed 08/02/05 Page 1 of 3 Page|D 135

UNITED STATESDISTRICT COURT 0

WESTERN DISTRICT oF TENNESSEE 5 AUG `2 A" 8= 55

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CHRISTINE DEENER, et al., JUDGMENT IN A CIVIL CASE

Plainrifr,
V.

KINDRED HEALTHCARE, INC., et al., CASE NO: 2:03-2255-B

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Denying
Defendants’ Motion To Dismiss And Granting Defendants’ Motion For Summary Judgment
entered on July 27, 2005, judgment is hereby entered in favor of the Defendant, Kindred
Healthcare, Inc., et al., and against the plaintiff, Christine Deen'er, et al.

 

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UNITE STATES DISTRICT OURT- WESTERNDTISRIC OF TNNSESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 101 in
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Honorable .1. Breen
US DISTRICT COURT

